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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                  Case No. 8:00-cr-468-T-30TBM

 NARGEL PAREDES
 ____________________________________

                                               ORDER

           This cause came on for consideration upon Defendant’s Notice of Motion for

 Immediate Deportation (Dkt. #336). Upon review and consideration, the Court determines

 that this motion should be stricken. Defendant does not cite any provision or case law which

 would give this Court jurisdiction to rule on such a motion once a Final Judgment has been

 rendered. It is therefore

           ORDERED AND ADJUDGED that Defendant’s Notice of Motion for Immediate

 Deportation (Dkt. #336) is STRICKEN.

           DONE and ORDERED in Tampa, Florida on February 15, 2006.




 Copies furnished to:
 Counsel/Parties of Record
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